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                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

       LANCE BROWN
                                                       CIVIL ACTION
       VERSUS
                                                       NO. 16-322-JJB
       PORTFOLIO RECOVERY
       ASSOCIATES, ET AL


                               ORDER OF PARTIAL DISMISSAL

             Considering the foregoing notice/motion;

             IT IS ORDERED that all claims by plaintiff against Experian Information

       Solutions be DISMISSED with prejudice, all costs and attorney’s fees to be paid

       by the party incurring same.



             Signed in Baton Rouge, Louisiana, on November 14, 2016.



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                                                     JUDGE JAMES J. BRADY
                                                 UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF LOUISIANA




JURY
